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                   IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION


 JACQUELIN GROSSER-SAMUELS,                 §
                                            §
       Plaintiff/Counter-Defendant,         §
                                            §
 VS.                                        §     NO. 4:06-CV-159-A
                                            §
 JACQUELIN DESIGNS                          §
 ENTERPRISES, INC.,                         §
                                            §
       Defendant/Counter-Plaintiff,         §
                                            §
 and                                        §
                                            §
 DU NOUVEAU DESIGNS, INC.,                  §
                                            §
       Third-Party Plaintiff,               §
                                            §
 VS.                                        §
                                            §
 MICHAEL BURNS,                             §
                                            §
       Third-Party Defendant.               §


                              MEMORANDUM OPINION
                                      and
                                     ORDER

       Before the court for decision is the motion of defendant and

 counter-plaintiff, Jacquelin Designs Enterprises, Inc., ("JDE"),

 and third-party plaintiff, duNouveau Designs, Inc.,

 ("duNouveau"), to disqualify George R. "Russ" Schultz ("Schultz")

 and his firm, Schultz & Associates, P.C., ("Schultz Firm") as

 counsel for plaintiff and counter-defendant, Jacquelin Grosser-

 Samuels, ("Grosser-Samuels") and third-party defendant, Michael

 Burns, ("Burns"), and to impose sanctions against those

 attorneys.     The court has concluded that the motion to disqualify

 should be granted as to Schultz and the other attorneys with his
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 firm, and that the request for sanctions should be held in

 abeyance.

                                        I.

                            Grounds of the Motion

       The issue of disqualification was first raised by an

 emergency motion filed by JDE and duNouveau on March 21, 2006, to

 stay proceedings pending discovery and ruling on disqualification

 issues.    That motion was briefly considered at the hearing

 conducted on March 21, which primarily was related to a motion

 for preliminary injunction.        The formal motion was filed March

 29, 2006.     It was prompted by the recent discovery by counsel for

 JDE and duNouveau in the records of JDE of evidence that Schultz

 and his firm had served, and were serving, as attorneys for JDE.

       JDE's records contained (1) a document titled "Revocation

 and Substitute Power of Attorney" executed by JDE, acting through

 Grosser-Samuels as its president,1 in December 2005, appointing

 Schultz and his firm "to transact all business in the United

 States Patent and Trademark Office" in connection with a

 trademark held by JDE, and designating Schultz as JDE's "attorney

 with full power of substitution and revocation, to transact all

 business connected with [the trademark]," Mot. to Disqualify,

 App. at 30-31, and (2) a letter from Schultz, bearing the

 letterhead of Schultz & Associates, P.C., to the Commissioner of

 Trademarks dated December 19, 2005, transmitting the Revocation


       1
       Grosser-Samuels was president of JDE until February 2006.            Tr.
 of Mar. 21, 2006, hr'g at 34.

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 and Substitute Power of Attorney together with three other

 similar documents.2

       The records also included invoices directed to JDE by its

 business consultant, Kent Mansfield ("Mansfield") (who does

 business as Tara Business Consulting), indicating that payments

 were made during the year 2005 by JDE to the consulting firm for

 time Mansfield devoted to conferences with Schultz relative to

 the affairs of JDE, and for time devoted by the firm to the

 preparation of checks payable to Schultz and the delivery of one

 of the checks.        Mot. to Disqualify, App. at 18, 21, 25.

       JDE and duNouveau maintain in their motion that Schultz and

 his firm were attorneys for JDE when Schultz filed this action in

 February 2006 for Grosser-Samuels, and that they should be

 ordered disqualified because by filing this action against JDE

 they violated rules of professional conduct that prohibit a

 lawyer from representing a client if the representation of that

 client will be adverse to another client and because their

 representation of Grosser-Samuels and Burns against JDE in this

 action involves a matter substantially related to the work

 Schultz and his firm previously performed for JDE.

       As another ground for disqualifying Schultz, JDE and

 duNouveau expressed serious concerns that Schultz assisted

       2
       The record shows that on March 29, 2006, eight days after the
 request for disqualification was first presented to the court,
 Schultz submitted to the Commissioner of Trademarks a document titled
 "Withdrawal of Attorney" in which he said that the Revocation and
 Substitute Power of Attorney was being withdrawn for the reason that
 "[r]epresentation is likely to result in a conflict of interest."
 Resp. App. at 107-108.

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 Grosser-Samuels in carrying out the conduct of which the

 counterclaims of JDE and duNouveau complain, pointing out that

 Schultz might well be called to testify as a witness and that

 there is a possibility that he will become a party to the

 litigation.

       The request for sanctions feature of the motion is based on

 statements Schultz made to the court during a hearing conducted

 March 21, 2006, on a motion of JDE and duNouveau asking for

 injunctive relief, and deposition testimony Schultz gave on that

 same date, that JDE and duNouveau interpret to be unqualified

 representations by Schultz that he never served as an attorney

 for JDE.    JDE and duNouveau maintain that by giving false

 testimony concerning his representation of JDE, and by persisting

 in his representation of Grosser-Samuels and Burns, Schultz has

 caused JDE and duNouveau to expend unnecessary cost "in resolving

 this issue that could easily have been avoided if Mr. Schultz had

 acknowledged his attorney-client relationship with JDE at the

 [March 21] hearing."       Mot. to Disqualify at 7-8.        The movants add

 that, in addition, the court has "the inherent authority to enter

 an award of sanctions against the Schultz Firm for its conduct in

 the handling of this matter."          Id. at 8.




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                                         II.

                           Nature of the Litigation

 A.    The Complaint.

       Grosser-Samuels instituted this action through Schultz as

 her attorney on February 27, 2006, by a complaint naming JDE as

 the defendant.        The alleged facts on which she bases her claims

 are as follows:

       Patent No. 6,484,535 B2 pertaining to an adjustable jewelry

 assembly was issued to Grosser-Samuels on November 26, 2002.                    On

 March 20, 2005, Grosser-Samuels granted a license to Pacific

 Crown Holdings ("PCH") to make, use, and sell goods covered by

 the patent and to grant sub-licenses under the patent.                  On or

 about July 1, 2005, PCH granted a license under the patent to JDE

 (the "JDE license") to sell merchandise in the wholesale jewelry

 industry that was covered by the claims of the patent.                  In the

 JDE license, JDE agreed not to sell or distribute any goods that

 were covered by the claims of the patent after termination of the

 license.    JDE's rights under the JDE license terminated on

 February 26, 2005.        Notwithstanding termination of the JDE

 license, JDE has continued to sell and distribute goods that

 infringe the patent, and has contracted to deliver the infringing

 goods through July 2006.

       Based on those facts, Grosser-Samuels alleges that JDE, with

 full knowledge of the patent, is willfully and intentionally

 infringing the patent, and is actively inducing others to

 infringe it, and that the infringement started as early as March

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 1, 2006.    Grosser-Samuels requests as relief (a) the grant of a

 preliminary, and then permanent, injunction restraining defendant

 from infringing, and inducing others to infringe, the patent, (b)

 a judgment against JDE for patent infringement damages, trebled,

 and (c) recovery from JDE of reasonable attorney's fees and costs

 of court.

 B.    The Counterclaim.

       On March 8, 2006, JDE filed its original answer and

 counterclaim.     It joined duNouveau as a third-party plaintiff and

 named Burns as a third-party defendant.           By the counterclaim, JDE

 and duNouveau seek injunctive relief against Grosser-Samuels and

 Burns, a judgment awarding JDE and duNouveau damages against

 Grosser-Samuels and Burns caused by the allegedly improper

 conduct described in the counterclaim, and an order directing

 that Patent No. 6,484,535 B2 be assigned to JDE.             The facts

 alleged by JDE and duNouveau on which their counterclaim against

 Grosser-Samuels and Burns is based are, in summary, as follows:

       1.    On November 26, 1997, Grosser-Samuels, The Baguette

 Source, Inc. ("BEI"), and Jacquelin Enterprises, Inc. ("JEI"), on

 the one hand, and JGS, Inc., on the other, entered into an

 agreement whereby JGS, Inc., acquired certain assets of Grosser-

 Samuels, BEI, and JEI.       On February 23, 1998, JGS, Inc. sold to

 duNouveau all of JGS, Inc.'s assets.           On April 18, 1998, Grosser-

 Samuels entered into an employment agreement with duNouveau

 effective March 1, 1998, pursuant to which she became duNouveau's

 Chief Creative Officer and Head Designer for a period of three

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 years.     During the course of her employment by duNouveau,

 Grosser-Samuels also served as president and director of

 duNouveau.     On December 1, 1998, Grosser-Samuels resigned from

 her positions with duNouveau; and, effective that same date, she

 entered into an employment agreement with JDE pursuant to which

 she was retained as Designer of Jewelry on an exclusive basis for

 JDE's international jewelry business for a period of twenty-four

 months.    During Grosser-Samuels' employment with JDE, she also

 served as president and director of JDE.            In an addendum to her

 employment agreement with JDE, Grosser-Samuels acknowledged that

 in November 1998, while employed by duNouveau, she designed

 "certain mechanics" attached to jewelry for which she intended to

 seek a patent if the design was successful.             Answer &

 Counterclaim at 7, ¶ 9

       2.    Grosser-Samuels' duties as Designer of Jewelry for JDE

 included developing (1) new jewelry designs under the "Jacquelin"

 name, (2) marketing those designs in conjunction with JDE's

 jewelry business, and (3) developing business relationships on

 behalf of JDE based upon those designs.           A provision in the

 employment agreement between JDE and Grosser-Samuels provided

 that the design by Grosser-Samuels "under the employ of JDE is

 proprietary to JDE which is to launch the products/collections to

 luxury retail points of sale."         Id. at ¶ 11.      Another provision

 provided that "[a]ll designs and the work product relating to and

 leading to such designs, created by [Grosser-Samuels] during the



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 term [of the agreement], shall become and shall remain

 Intellectual Property owned by JDE."           Id. at ¶ 12.

       3.    While her employment agreement with JDE was in force,

 Grosser-Samuels did the following:

             (a)   On February 24, 1999, she caused a patent

       application for an adjustable necklace clasp to be

       filed with the U.S. Patent and Trademark Office, which

       was issued as patent number 6,202,443 B1 on March 20,

       2001.

             (b)   On April 28, 1999, she caused a patent

       application for a jewelry display device to be filed

       with the U.S. Patent and Trademark Office, which was

       issued as patent number 6,205,688 B1 on March 27, 2001.

             (c)   On January 16, 2001, she caused a patent

       application for a continuation of the adjustable

       necklace to be filed with the U.S. Patent and Trademark

       Office, which was issued as patent number 6,484,535 B2

       on November 26, 2002.

       4.    After filing those patents, Grosser-Samuels sold them

 to PCH, which is a fictitious corporation owned and operated by

 Grosser-Samuels' parents.       On March 21, 2005, and again on July

 1, 2005, PCH and Grosser-Samuels, purporting to act as president

 of JDE, executed a revocable license and royalty agreement

 whereby PCH, in exchange for a licensing fee, agreed to permit

 JDE to produce, purchase, and resell certain component parts of

 mechanisms associated with the patents.           On December 28, 2005,

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 PCH notified JDE by letter of PCH's intent to revoke their

 license and royalty agreement effective sixty days thereafter.

       5.    On February 3, 2006, Grosser-Samuels resigned from her

 positions at JDE and duNouveau.3           PCH sent a letter to JDE on

 February 17, 2006, admonishing JDE for attempting to purchase one

 of Grosser-Samuels' designs from a PCH supplier, and threatening

 the initiation of a patent infringement lawsuit.

       6.    Upon leaving JDE, Grosser-Samuels removed, without

 authorization, all company files from her office, including

 confidential and proprietary information; and, Grosser-Samuels

 has attempted to use the information she obtained and other

 confidential information of JDE to set up a business in

 competition with JDE.       Grosser-Samuels had been planning since as

 early as 2001 to set up such a competing business using JDE's

 confidential and proprietary information at a time when she was

 acting as President and Director of JDE.

       7.    Since Grosser-Samuels' departure from JDE, JDE has

 received a communication from one of its suppliers that the

 supplier no longer can supply JDE with certain jewelry components

 due to restrictions placed upon the supplier by PCH; and, certain

 of JDE's clients have expressed doubt to JDE's personnel about

 JDE's ability and legal right to market and distribute products

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       The allegations of the counterclaim do not give an explanation
 of the facts that led to Grosser-Samuels serving as an officer and
 employee of JDE and duNouveau in February 2006. Rather, as noted in
 the text, the allegations suggest that Grosser-Samuels no longer was
 an officer, employee, and director of duNouveau after December 1,
 1998, and that her employment with JDE was to be for a two-year term
 commencing December 1, 1998.

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  that were developed during Grosser-Samuels' employment.                And,

  since her termination from JDE, Grosser-Samuels has used

  confidential and proprietary information of JDE and duNouveau,

  including information about their models, jewelry designs, market

  strategy, vendor and customer information, and pricing

  information, to develop and market identical products to

  customers of JDE and duNouveau at reduced prices.

        8.    While employed with duNouveau and JDE, Grosser-Samuels

  committed substantial waste of company resources through the

  hiring of her friends and family, paying for the rent and other

  personal expenses for her boyfriend and herself, taking personal

  trips at the expense of JDE and duNouveau, and purchasing

  personal goods and services for those people with the funds of

  JDE and duNouveau.      Grosser-Samuels' boyfriend, Burns, was hired

  by Grosser-Samuels as JDE's Director of Information Technology,

  having the responsibility for setting up and establishing JDE's

  corporate websites.      At about the time of Grosser-Samuels'

  resignation from JDE, Burns blocked JDE's access to its corporate

  websites, and has since refused to provide JDE management with

  appropriate access codes, with the result that JDE has been

  unable to access its own corporate websites.

        JDE and duNouveau assert in the counterclaim causes of

  action against Grosser-Samuels or Grosser-Samuels and Burns for

  conversion, tortious interference with business relationships,

  defamation, breach of contract, breach of fiduciary duty of



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  loyalty, misappropriation, unjust enrichment, and violation of

  the Texas Theft Liability Act.

        The allegations of the conversion claim are that by

  obtaining patents and trademarks on designs formulated by

  Grosser-Samuels during the course of her employment with JDE and

  duNouveau, and by utilizing confidential and proprietary customer

  information and good will obtained during that employment to

  obtain a competitive advantage, Grosser-Samuels committed

  unlawful conversion.      The claim of tortious interference with

  business relationships is based on a theory that Grosser-Samuels

  tortiously interfered with the business relations and prospective

  business relations of JDE and duNouveau by providing false

  information to Grosser-Samuels' suppliers, customers, and

  potential customers regarding the ability and legal right of JDE

  and duNouveau to conduct their businesses, and by using

  confidential and proprietary information to conduct Grosser-

  Samuels' own business.       The defamation claim is based on alleged

  false statements Grosser-Samuels has made to suppliers and

  customers of JDE and duNouveau.        The allegations of the breach of

  contract claim are that Grosser-Samuels breached her agreement

  with JDE by obtaining patents and trademarks on jewelry designs

  developed and marketed by her during the course of her employment

  with JDE.    The allegations of the breach of fiduciary duty of

  loyalty claim are that Grosser-Samuels owed a fiduciary duty of

  loyalty to JDE and duNouveau to act solely in their benefit in

  all matters connected with her employment, and to do no act

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  tending to injure their business or financial interests.                The

  misappropriation claim asserts that by using information Grosser-

  Samuels and Burns acquired during their employment relationships

  with JDE they have misappropriated confidential and proprietary

  information of JDE and duNouveau to their damage.              The

  allegations of the unjust enrichment claim are that Grosser-

  Samuels has unjustly enriched herself by accepting monies in

  conjunction with intellectual property owned by JDE and

  duNouveau.

  C.    Response to the Counterclaim.

        The response of Grosser-Samuels and Burns to the

  counterclaim was filed on their behalf by Schultz as their

  attorney.

                                        III.

                  Standards to be Applied in Determining
              Whether Conflict Disqualification is Required

        This court is obligated to take measures against any

  unethical conduct occurring in connection with this action.                   See

  Musicus v. Westinghouse Elec. Corp., 621 F.2d 742, 744 (5th Cir.
  1980).    See also In re American Airlines, Inc., 972 F.2d 605, 611

  (5th Cir. 1992).      A motion to disqualify counsel, such as the one

  now before the court, "is the proper method for a party-litigant

  to bring the issues of conflict of interest or breach of ethical

  duties to the attention of the court."            Musicus, 621 F.2d at 744.

  The Fifth Circuit has elected "to remain 'sensitive to preventing

  conflicts of interest,'"       American Airlines, 972 F.2d at 611.             In


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  American Airlines, the Fifth Circuit, as it had done in the past,

  rigorously applied the relevant ethical standards in reviewing

  the disqualification motion.          Id.

        In answer to the question of "whether a law firm may sue its

  own client, which it concurrently represents in other matters,"

  the Fifth Circuit said in In re Dresser Indus., Inc. "[i]n a

  word, no."    972 F.2d 540, 541 (5th Cir. 1992).           "Neither the ABA

  Model Rules of Professional Conduct nor the Code of Professional

  Responsibility allows an attorney to bring a suit against a
  client without its consent."          Id. at 544 (footnotes omitted).

        There can be exceptional circumstances where a clear

  impropriety will not determine the outcome of a motion to recuse

  based on a conflict of representation.            Id. at 545.     An attorney

  might be able to engage in dual representation if he can show

  "some social interest to be served by his representation that

  would outweigh the public perception of his impropriety."                Id.

  If there is no suggestion in the record that another lawyer could

  not ably perform the representation at issue or that there is a

  societal or professional interest to be served by continuing the

  representation, concurrent representation should lead to

  disqualification.      Id.

        When a former client moves to disqualify an attorney who

  appears on behalf of its adversary, the law of the Fifth Circuit

  is "fairly straightforward" that the movant "need only to show

  that the matters embraced within the pending suit are

  substantially related to the matters or cause of action wherein


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  the attorney previously represented [it]."              Wilson P. Abraham

  Constr. Corp. v. Armco Steel Corp., 559 F.2d 250, 252 (5th Cir.

  1977).    As the Fifth Circuit explained in Abraham:

        This rule rests upon the presumption that confidences
        potentially damaging to the client have been disclosed
        to the attorney during the former period of
        representation. The Court may not even inquire as to
        whether such disclosures were in fact made or whether
        the attorney in fact is likely to use the damaging
        disclosures to the detriment of his former client. The
        inquiry is limited solely to whether the matters of the
        present suit are substantially related to matters of
        the prior representation, and this is because this
        Court recognizes that in order to aid the frank
        exchange between attorney and client, it is necessary
        to preclude even a possibility that information given
        in confidence by a former client will ever be used
        without that client's consent.

  Id. (citation omitted).        The presumption to which the Fifth

  Circuit referred in Abraham is irrebuttable.              American Airlines,

  972 F.2d at 614 (saying that "[o]nce it is established that the

  prior matters are substantially related to the present case, the

  court will irrebuttably presume that relevant confidential

  information was disclosed during the former period of

  representation" (internal quotation marks omitted)).               There is a

  second irrebuttable presumption that confidences presumably

  obtained by an individual lawyer will be shared with the other

  members of his firm.        Id. n.1.

        The party seeking disqualification has the burden to prove

  that the present and prior representations are substantially

  related.    Id.      Once the movant establishes a substantial

  relationship between the past and current representations,

  disqualification is required, but "a substantial relationship may


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  be found only after the moving party delineates with specificity

  the subject matters, issues and causes of action common to prior

  and current representations and the court engages in a

  painstaking analysis of the facts and precise application of

  precedent."       Id. (internal quotation marks omitted).           Two

  concerns underlie the substantial-relationship test: "the duty to

  preserve confidences and the duty of loyalty to a former client."

  Id. at 618 (internal quotation marks omitted).              The duty of

  loyalty to the client is one of the basic tenants of the legal
  profession.       Douglas v. DynMcDermott Petroleum Operations Co.,

  144 F.3d 364, 370 (5th Cir. 1998).           "The purpose of ethical

  precepts is to preserve public confidence in the bar and in the

  legal process."        Id. (internal quotation marks & brackets

  omitted).

        The rule expressed in Abraham, and repeated in later cases,

  is a reenforcement of the applicable rules governing the

  professional conduct of attorneys.           559 F.2d at 252.       More

  generally, "[m]otions to disqualify are substantive motions

  affecting the rights of the parties and are determined by

  applying standards developed under federal law."               Dresser, 972

  F.2d at 543.      Generally speaking, a motion to disqualify is

  "governed by the ethical rules announced by the national

  profession in the light of the public interest and the litigants'

  rights."    Id.      The Fifth Circuit's "source for the standards of

  the profession has been the canons of ethics developed by the

  American Bar Association."        Id.    Ethical standards of the forum


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  state are to be taken into account as well.            See Horaist v.

  Doctor's Hosp. of Opelousas, 255 F.3d 261, 266 (5th Cir. 2001);

  E.E.O.C. v. Exxon Corp., 202 F.3d 755, 759 (5th Cir. 2000);

  Cramer v. Sabine Transp. Co., 141 F. Supp.2d 727, 730 (S.D. Tex.

  2001).

        Included in the ABA standards is the admonition that

  "lawyers should avoid 'even the appearance of impropriety.'"4

  Dresser, 972 F.2d at 543 (citing Brennan's, Inc. v. Brennan's

  Restaurants, Inc., 590 F.2d 168, 171 (5th Cir. 1979)).                 However,
  the appearance-of-impropriety standard should be applied with

  caution.    Woods v. Covington County Bank, 537 F.2d 804, 813 (5th

  Cir. 1976).     For disqualification to be based on a violation of

  that standard of conduct, "there must be at least a reasonable

  possibility that some specifically identifiable impropriety did

  in fact occur."      Id.   Disqualification is not always required

  "even where there is a reasonable possibility of improper

  professional conduct."       Id. n.12.     The court "must also find that

  the likelihood of public suspicion or obloquy outweighs the

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        In In re American Airlines, Inc. the Fifth Circuit suggested
  that the "appearance of impropriety" standard no longer applies in
  the court's probe of ethical restraints. 972 F.2d 605, 617-19 (5th
  Cir. 1992). However, only approximately two weeks earlier the Fifth
  Circuit noted in In re Dresser Industries, Inc. that it has applied
  particularly the admonition in canon 9 of the American Bar
  Association's Canons of Ethics that lawyers should avoid even the
  appearance of impropriety. 972 F.2d 540, 543 (5th Cir. 1992). As
  recently as 2001 the Fifth Circuit gave effect to the ABA Code of
  Professional Responsibility (in which the "appearance of impropriety"
  standard is expressed) even though it had been replaced by the ABA
  Model Rules of Professional Conduct. Horaist v. Doctor's Hosp. of
  Opelousas, 255 F.3d 261, 266 (5th Cir. 2001) (stating that ethical
  canons relevant to the disqualification issue before the court
  include the ABA Model Code of Professional Responsibility and the ABA
  Model Rules of Professional Conduct).

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  social interest which will be served by a lawyer's continued

  participation in a particular case."          Id.      See also Horaist, 255

  F.3d at 266.

                                        IV.

                Disqualification of Schultz is Appropriate
               Under the Fifth Circuit's Conflict Standards

        In reaching decisions as to the difficult issues presented

  by the motion to disqualify, the court has made a painstaking

  evaluation of the pleadings; the motion and response, reply, and
  supplements; the contents of all appendices; and, the record of

  the hearing held March 21, 2006, at which JDE and duNouveau first

  presented their request for disqualification and made a partial

  record in support of the request.

        After such an evaluation, the court has concluded that it

  cannot accept as reasonable the explanations given by Grosser-

  Samuels, Schultz, and Mansfield for the evidence adduced by JDE

  and duNouveau that shows that Shultz and his firm were serving as

  attorneys for JDE, albeit in a limited area, from December 2005

  until late March 2006.       While the court has uncertainty as to the

  reason why Schultz and his firm assumed the capacity as attorneys

  for JDE, the court is satisfied that they did so knowingly and

  voluntarily.

        The record supports the contention of JDE and duNouveau that

  only two months before Schultz filed this intellectual-property

  action on behalf of Grosser-Samuels against JDE he and his firm

  were designated in writing by JDE, acting through Grosser-Samuels

  as president of JDE, as JDE's "attorney to transact all business

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  in the United States Patent and Trademark Office connected [with

  a particular trademark application]," and, Schultz, in

  particular, was designated as JDE's "attorney with full power of

  substitution and revocation, to transact all business connected

  with" the trademark application.            Mot. to Disqualify, App. at 30.

  On December 19, 2005, Schultz mailed that power of attorney

  document ("power of attorney"), along with others, to the

  Commissioner of Trademarks.           Schultz was serving in the

  fiduciary capacity created by that document when he filed this
  suit against his client, JDE.         Not until eight days after JDE

  first requested disqualification did Schultz take steps to

  disengage himself and his firm from their legal representation

  of, and fiduciary obligation to, JDE.           That is when Schultz

  prepared a "Withdrawal of Attorney" document for submission to

  the Commissioner of Trademarks, withdrawing from representation

  of JDE as to the intellectual property matter mentioned in the

  power of attorney, giving as his reason for the withdrawal that

  "[r]epresentation is likely to result in conflict of interest."

  Resp. to Mot. to Disqualify, App. at 107.

        In an attempt to explain away the power of attorney,

  Grosser-Samuels states in her declaration that, because she had

  signed so many similar documents, she was not aware at the time

  she signed the power of attorney that she was "granting a Power

  of Attorney to the law firm that represented [her] personally to

  act on behalf of JDE."       Resp. to Mot. to Disqualify, App. at 3.

  Mansfield's answer to the power of attorney is his declaration


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  that he "did not give authorization for the Attorneys to file a

  Revocation and Power of Attorney for the mark 'THE MINI'S BY

  JACKIE G.'"     Id. at 9, ¶ 14.        Schultz's explanation of the power

  of attorney is that a paralegal in his office, while preparing

  documents pertaining to personal trademark and/or patent

  applications of Grosser-Samuels, "in good faith, but in error,

  prepared one extra Power of Attorney for the mark 'THE MINI'S BY

  JACKIE G', which was later learned to be owned by JDE."                  Id. at

  22, ¶ 8.
        The court finds those explanations incredible.               The power of

  attorney could not more pointedly say that it pertains to an

  application filed by JDE, starting out with the language that

  "Jacquelin Design Enterprises, Inc. is the owner of the entire

  right, title and interest of the trademark Application listed

  below."    Mot. to Disqualify, App. at 30.           It then, again using

  JDE's name, very specifically says that JDE, "by and through its

  undersigned representative," appoints Schultz and his firm to act

  in the capacities stated in the power of attorney.               Id.     Nor

  could anyone have believed that the document dealt with the

  personal affairs of Grosser-Samuels when the signature block was

  as follows:

                       JACQUELIN DESIGNS ENTERPRISES, INC.



                       By:   /s/ Jacquelin


                       Printed Name:     Jacquelin Grosser Samuels



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                       Title:   President

  Id. at 31.

        Schultz, Grosser-Samuels, and Mansfield undoubtedly

  discussed the matter before the power of attorney was prepared

  and filed.    As early as September 2005 Schultz was conferring

  with Mansfield, a business consultant in the employ of JDE,

  concerning intellectual property issues.            Mot. to Disqualify,

  App. at 18.     In November 2005, Mansfield and Grosser-Samuels had

  a telephone meeting to discuss Schultz's law firm and the setting
  up of a meeting for additional work on filings.              Id. at 21.

  Again in November 2005 Mansfield devoted time to preparing a

  check for Schultz and delivering it "along with scope of work for

  additional filing maintenance."            Id.   On December 7, 2005,

  Mansfield had lunch with Schultz and Grosser-Samuels concerning

  intellectual property matters.            Id. at 25.    The time devoted by

  Mansfield to all those activities was charged to, and paid for

  by, JDE.    Id. at 20, 22, 26.

        The fact that the participants knew what they were doing

  when they arranged for Schultz and his firm to be attorneys for

  JDE in reference to the trademark application finds support in

  the records of billings by Schultz's law firm to Grosser-Samuels.

  The law firm devoted significant time between December 1 and

  December 19, 2005, to reviewing trademark application

  information, drafting and reviewing power of attorney documents,

  and filing the documents.        Resp. to Mot. to Disqualify, App. at

  61-62.    On December 1 an employee of Schultz's firm reviewed


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  materials received from "client," did research to determine the

  status of trademarks, and drafted a memo and "status matrix."

  Id. at 61.    On December 7 the same employee drafted several

  powers of attorney for various trademarks.5             Id.   On December 7

  Schultz met "with Client re status of applications [and reviewed]

  United States Patent and Trademark Office database information."

  Id.   On December 9 Schultz reviewed and revised a power of

  attorney; and, another attorney in the office reviewed trademark

  registrations and applications, checked the status of each
  application and registration with the United States Patent and

  Trademark Office database, reported to a partner concerning eight

  separate applications and registrations, and drafted, reviewed,

  and revised powers of attorney.          Id.      The drafting, reviewing,

  and revising of powers of attorney for various trademarks was

  resumed on December 13.       Id.     On December 19 one of the attorneys

  created a "summary spreadsheet of ownership of intellectual

  property."    Id.    A second December 19 entry notes the activities

  of two attorneys.      Id. at 62.     First, the activity was noted to

  be "[r]eview Power of Attorneys received from client and

  attention to filing with USPTO."            Id.    The other attorney was

  Schultz, who on December 19 reviewed various power-of-attorney

  documents, had a telephone conference with "Client," and devoted



        5
        The December 1 entry and the first part of the December 7 entry
  show "KLN" as the initials of the service provider. Presumably "KLN"
  is the "Kristy Needham," a paralegal, whom Schultz, in his
  declaration, credits with preparing in error the power of attorney
  appointing Schultz and his firm as attorneys for JDE.

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  "[a]ttention to filing Power of Attorney documents with the

  United States Patent and Trademark Office."            Id. at 62.

        The court is unwilling to accept the contentions that, after

  all those reviews, studies, and revisions, a power of attorney

  naming Schultz and his firm as attorneys for JDE was prepared by

  accident, such a power of attorney was accidently signed by

  Grosser-Samuels, and Schultz, following his final review of the

  documents, accidently sent such a power of attorney to the

  Commissioner of Trademarks.       The failure of Grosser-Samuels to
  present a credible explanation that would support disregard of

  the power of attorney leaves the court no choice but to accept

  the power of attorney, the transmittal letter to the Commissioner

  of Trademarks, and the "Withdrawal of Attorney" document at face

  value, i.e., that JDE appointed Schultz and his firm as its

  attorneys with respect to a trademark application, that Grosser-

  Samuels knew that JDE was making the appointment when she signed

  the power of attorney as president of JDE, that Schultz knew that

  he and his firm were being appointed as attorneys for JDE, that

  Schultz knew when he sent the document to the Commissioner of

  Trademarks that he was filing a document that designated him and

  his firm as attorneys for JDE with respect to the intellectual

  property matter mentioned in the document, and that Schultz and

  his firm continued to be designated as attorneys for JDE until

  late March 2006.

        Under the Fifth Circuit case authority previously discussed,

  the motion to recuse had merit at the time it was filed.               At that


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  time Schultz was serving as an attorney for JDE at least in

  respect to an intellectual property matter pending before the

  Commissioner of Trademarks.       Schultz recognized the problem when

  he prepared and submitted his "Withdrawal of Attorney" with the

  explanation that his representation of JDE was likely to result

  in a conflict of interest.       Notably, he did not give as a reason

  that the designation of him and his firm as attorneys for JDE was

  a mistake or otherwise was unintended.

        There being no showing of a social interest to be served by

  Schultz's representation of Grosser-Samuels and Burns in this

  action that would outweigh the public perception of his

  impropriety or that JDE consented to the representation, Schultz

  was disqualified from filing this action and from representing

  Grosser-Samuels and Burns in defense of the counterclaim.               The

  court further concludes that the termination by Schultz in late

  March 2006 of his and his firm's attorney-client relationship

  with JDE does not cause the then meritorious motion to disqualify

  to become less meritorious.

        Even if the court were to view the matter from the

  standpoint of an attorney representing a party to litigation

  against a former client, the outcome would be the same.                As noted

  above, the court is convinced that Schultz served as an attorney

  for JDE in respect to at least one intellectual property matter.

  The court assumes, for the sake of discussion at this point, that

  Schultz's representation of JDE discontinued sometime before this

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  suit was filed in February 2006.           Schultz's former intellectual

  property representation of JDE is substantially related to the

  intellectual property issues raised by the pleadings in this

  case.       Thus, there is an irrebuttable presumption that relevant

  confidential information pertaining to the affairs of JDE was

  disclosed to Schultz while he was acting as attorney for JDE.

  The disclosures could have been by Grosser-Samuels, the then

  president of JDE, or by Mansfield, the business consultant for

  JDE.       Therefore, under the assumed fact, Schultz would be
  disqualified from representing Grosser-Samuels against JDE in

  this action.

         If the appearance-of-impropriety standard is applied to this

  case, the need for disqualification would become even more

  apparent.6      In addition to the direct conflict discussed above, a

  reasonable inference the court draws from the record of this case

  is that in the latter part of 2005 Schultz not only was serving

  as an attorney for JDE, at least as to an intellectual property

  matter, he at the same time was cooperating with Grosser-Samuels

  in furtherance of a secret plan she had, while serving as

  president of JDE, to take from JDE and convert for her personal

  interest intellectual property assets, as well as customers, of




         6
        In In re American Airlines, Inc., the Fifth Circuit used
  language that would suggest that even if the appearance-of-
  impropriety standard no longer applies, it indirectly lives on as an
  ingredient of the ethical prohibition against appearing on behalf of
  a former client's adversary under certain circumstances. 972 F.2d
  605, 611 (5th Cir. 1992).

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  JDE.7       The court has noted from items in the record that activity

  was devoted by Schultz and his firm to causing JDE's trademarks

  to be treated as the property of Grosser-Samuels personally.

  Defendant's Exhibit 10 to the March 21 hearing was identified as

  depicting trademarks of JDE.           Tr. of Mar. 21, 2006, hr'g at 45.

  The trademarks claimed by JDE include "Jacquelin," "True," and

  "Magic by Jacquelin."       Those trademarks were the subjects of

  activity by Schultz and his firm on behalf of Grosser-Samuels in

  December 2005 and January 2006.          Mot. to Disqualify, App. at 29;
  Resp. to Mot. to Disqualify, App. at 52, 54, & 55.

          The fact that Schultz, Grosser-Samuels, and Mansfield would

  be working together to advance the personal interests of Grosser-

  Samuels while she was serving as president of JDE defies ethical

  explanation.       According to Mansfield's declaration, in September

  2005 he was hired, presumably by Grosser-Samuels (with whom he

  had been acquainted since they were in high school), as a

  consultant for JDE.       Resp. to Mot. to Disqualify, App. at 6-7, ¶¶

  2 & 3.       In that capacity, he was "to review a number of different

  business issues that JDE was facing at the time, including cash


          7
        Grosser-Samuels' collaboration with Schultz was not the first
  time Grosser-Samuels, while serving as president of JDE, secretly
  collaborated with someone to the potential detriment of JDE.
  Defendant's Exhibit 11 to the March 21, 2006, hearing exposes a plan
  by Grosser-Samuels in 2001, which was aborted for some reason, to
  secretly appropriate JDE's business for her personal benefit and for
  the benefit of the person collaborating with her. Grosser-Samuels
  tells her then collaborator that "[m]y objective is to get our new
  venture up and rolling while I am on [JDE's] payroll transitioning
  their company," that "I need the $ until I get my house sold and our
  company up and running," and that "I think the mission should begin
  taking place behind the scenes as long as possible 1) because I am
  being paid . . . ." Def.'s Ex. 11, first page, ¶¶ 1 & 3.

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  flow difficulties, operating efficiency and control and general

  business matters such as leases and contracts."               Id. at 7, ¶ 3.

  The intensity of his activity, purportedly on behalf of JDE, and

  the cost to JDE of his activity, is partially disclosed by

  Mansfield's billings that accompanied the motion to disqualify.

  Mot. to Disqualify, App. at 16, 18, 21, 24-25.              The billings

  disclose that Mansfield was playing a role in running JDE in

  cooperation with Grosser-Samuels as its president.               At the same

  time, the two of them, in cooperation with Schultz, were engaged
  in significant activity to further the personal interests of

  Grosser-Samuels to the detriment of JDE.8              In other words, each

  of them appears to have been acting in violation of fiduciary

  obligations owed to JDE.       One of the subjects of all of that

  activity is the very patent upon which Grosser-Samuels bases her

  claim against JDE in this action.

        Similar ethical concerns relate to the transactions of

  Grosser-Samuels, Mansfield, and Schultz in reference to an entity

  they refer to as "Pacific Crown Holdings" or "PCH."                Information


        8
        Considering Mansfield's obligations to JDE, one would certainly
  puzzle over the activities he engaged in on behalf of Grosser-Samuels
  personally, as reflected by his declaration. Resp. to Mot. to
  Disqualify, App. at 7-11. Not only was Mansfield, while employed as
  a consultant by JDE, providing services to its president to the
  detriment of JDE, he was charging JDE for the time he devoted to
  those services. In addition to the examples mentioned above in the
  text, there is an entry dated December 9, 2005, worded as follows:

        Review comms from Russ Schultz and begin review of budget
        for next ninety days on trademark issues for JDE.
        Relegate issues of JGS personal ownership of trademarks to
        JGS for her discussion with Russ.

  Mot. to Disqualify, App. at 25.

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  developed at the March 21 hearing causes the court to think that

  the allegations made in the counterclaim relative to PCH

  basically are correct.       Supra at 8-10, ¶¶ 4, 5, & 7.9         When the

  ethical concerns related to Schultz's apparent collaboration with

  Grosser-Samuels in the breach of her fiduciary obligations to JDE

  are combined with the conflict-of-interest issues arising from

  the designation by Schultz and his firm as attorneys for JDE, a

  serious appearance of impropriety problem exists.             Public

  suspicion almost certainly would arise from the representation by
  Schultz or any attorney associated with his firm of Grosser-

  Samuels and Burns in this action.          That suspicion outweighs any

  social interest that continued representation conceivably could

  serve.    There is no suggestion that other lawyers could not

  represent Grosser-Samuels and Burns as ably as Schultz or any

  attorney associated with his firm.

        For the reasons given above, the court is ordering that

  Schultz and the attorneys associated with his firm are

  disqualified from serving as an attorney for Grosser-Samuels and

  Burns in this action.

                                        V.

                   The Ground of the Motion Based on the

        9
        Evidence received at the March 21 hearing indicates that JDE
  and duNouveau might be in error in alleging that Pacific Crown
  Holdings is a corporation. The document that purportedly gave PCH
  rights in the patent for the adjustable clasp recites that it is a
  grant by Grosser-Samuels to "Edwin Lail dba Pacific Crown Holdings
  (PCH)." Pl.'s Ex. 13, first page. Thus, that document would suggest
  that the transfer by Grosser-Samuels of rights to license the
  adjustable clasp were to her father, personally, doing business as
  Pacific Crown Holdings, and not to a corporation.

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               Prospect that Schultz Might be a Witness in,
                     if not a Party to, the Litigation

        Because of the conclusions the court has reached that

  Schultz has a conflict disqualification, the court is not

  devoting significant attention in this memorandum opinion to the

  ground of the motion urging disqualification based on the

  prospect that he could be called as a witness in this action and

  might well be made a party.       The court notes, however, that this

  ground raises serious concerns.        Schultz probably did assist
  Grosser-Samuels in engaging in the conduct of which JDE and

  duNouveau complain by their counterclaim.              Undoubtedly he would

  argue that he legitimately did so as Grosser-Samuels' personal

  attorney.    But, the record suggests that the more persuasive

  arguments would be that he violated a fiduciary duty to JDE when

  he did so, and that he joined with Grosser-Samuels and Mansfield

  in their violations of their fiduciary duties to JDE.               That being

  so, he probably would be a witness, if not made a party.

                                        VI.

             Request that Schultz's Law Firm be Disqualified

        The court is not ordering disqualification of Schultz's law

  firm as such, because the court does not consider that the law

  firm represents Grosser-Samuels or Burns in this action, only

  Schultz individually.      However, the court is interpreting the

  motion to disqualify as including a request that all attorneys

  associated with Schultz's firm, individually, be disqualified

  from providing representation to Grosser-Samuels or Burns.                The



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  court has concluded that such a disqualification would be

  appropriate.     Rule 1.09(b) of the Texas Disciplinary Rules of

  Professional Conduct provides, with an exception not applicable

  here, that "when lawyers are or have become members of or

  associated with a firm, none of them shall knowingly represent a

  client if any one of them practicing alone would be prohibited

  from doing so" because of a conflict disqualification.                  Tex.

  Disciplinary R. Prof. Conduct 1.09, Tex. Gov't Code Ann., tit. 2,

  subtit. G, app. A (Vernon 2005).            The justification for such a
  rule was noted by the Fifth Circuit in American Airlines, when it

  said that "[a] second irrebuttable presumption is that

  confidences obtained by an individual lawyer will be shared with

  the other members of his firm."         972 F.2d at 614 n.1.

        Therefore, the court is ordering that all attorneys

  associated with Schultz's law firm likewise are disqualified.

                                        VII.

                          The Request for Sanctions

        The court has decided to hold in abeyance the request of JDE

  and duNouveau for sanctions against Schultz and his firm.                  While

  a decision on the request would be appropriate at this time under

  the record already made, the court when making a decision would

  prefer to take into account any further developments there are on

  the representation issue.       Before making a decision, the court

  probably will hear from the parties relative to the possibility

  of disciplinary action against Schultz under the authority of




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  rules LR 83.8(b)(1) and (3) of the local civil rules of this

  court.

                                        VIII.

                                        Order

        For the reasons stated above,

        The court ORDERS and DECLARES that Schultz and each attorney

  associated (either as a partner, an associate, as of counsel, as

  a shareholder, or otherwise) with the law firm with which Schultz

  is associated are disqualified from providing representation to
  Grosser-Samuels or Burns in, or in connection with, the above-

  captioned action.

        The court further ORDERS that by 2:00 p.m. on September 20,

  2006, Grosser-Samuels and Burns each file a document informing

  the court of the identity of the attorney who will be

  representing her or him in this action, including the attorney's

  contact information; or, if Grosser-Samuels or Burns plans to

  proceed pro se in this action, she or he file a document by such

  time and date advising the court of that fact and providing the

  court contact information pertaining to her or him.

        The court further ORDERS that the stay as to discovery

  ordered by the order signed in this action on March 30, 2006, and

  the more general stay ordered by the order signed March 31, 2006,

  be, and are hereby, lifted.

        SIGNED September     13 , 2006.


                                           /s/ John McBryde
                                        JOHN McBRYDE

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                                        United States District Judge




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